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Case 5:13-cv-02026-JGB-DTB Document 1 Filed 11/06/13 Page 1 of 11 Page ID #:5


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   Hyde & Swigart                                                   .~.~..i?:.i¡...:.:i.  ~    ,"'LAr..
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   2221 Camino Del Rio South, Suite 101                             / i ~S4!~~~          -0
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   San Diego, CA 92108                                                            C)_".---f
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   Telephone: (619) 233-7770                                                      :'-iFü ui
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   Attorneys for Andrew Medina




                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA                                          i/,n
     Andrew Medina,            ED      cv      lcSse~: 0202 S JUD 0tB)( ,
                          Plaintiff,              COMPLAINT FOR DAMAGES
     v.
                                                  JURY TRIAL DEMANDED
     Asset Acceptance, LLC,

                          Defendant.



                                       INTRODUCTION

   1. The United States Congress has found abundant evidence of the use of

          abusive, deceptive, and unfair debt collection practices by many debt
          collectors, and has determined that abusive debt collection practices
          contribute to the number of personal bankuptcies, to marital instability, to the
          loss of jobs, and to invasions of individual privacy. Congress wrote the Fair
          Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
          "FDCPA"), to eliminate abusive debt collection practices by debt collectors,
          to insure that those debt collectors who refrai from using abusive debt G)

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        Case 5:13-cv-02026-JGB-DTB Document 1 Filed 11/06/13 Page 2 of 11 Page ID #:6
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       1          collection practices are not competitively disadvantaged, and to promote
       2          consistent State action to protect consumers against debt collection abuses.
       3    2.    The California legislature has determined that the banking and credit system
       4          and grantors of credit to consumers are dependent upon the collection of just
       5          and owing debts and that unfair or deceptive collection practices undermine
       6          the public confidence that            is essential to the continued functioning of the
       7          banking and credit system and sound extensions of credit to consumers. The
       8          Legislature has further determined that there is a need to ensure that debt
       9          collectors exercise this responsibilty with fairness, honesty and due regard
       10         for the debtor's rights and that debt collectors must be prohibited from
       11         engaging in unfair or deceptive acts ór practices.
       12   3.    Andrew Medina, ("Plaintiff'), through Plaintiffs attorneys, brings this action
~ eo
~ 'E 13
o .£              to challenge the actions of Asset Acceptance, LLC, ("Defendant"), with
~ ~ 14            regard to attempts by Defendant to unlawfully and abusively collect a debt
~ &~
~ ~ 15            allegedly owed by Plaintiff, and this conduct caused Plaintiff damages.
==
       16   4.    Plaintiff makes these allegations on information and belief, with the exception
       17         of those allegations that pertain to a plaintiff, or to a plaintiffs counsel, which
       18         Plaintiff alleges on personal knowledge.
       19   5.     While many violations are described below with specificity, this Complaint
       20          alleges violations of the statutes cited in their entirety.

       21   6.     Unless otherwise stated, all the conduct engaged in by Defendant took place
       22          in California.
       23   7.     Any violations by Defendant were knowing, wilful, and intentional, and
                                                    ,

       24          Defendant did not maintain procedures reasonably adapted to avoid any such
       25          violation.
       26
       27    II

       28    II



                                                             - 2 of 7-
           Case 5:13-cv-02026-JGB-DTB
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                                      Document 1 Filed 11/06/13 Page 3 of 11 Page ID #:7
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       1                                                       JURISDICTION AND VENUE

      2       8. Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §

      3                1692(k), and 28 U.S.C. § 1367 for supplemental state claims.
       4      9. This action arises out of Defendants' violations of the Fair Debt Collection

       5               Practices Act, 15 U.S.C. §§ 1692 et seq. ("FDCPA") and the Rosenthal Fair
      ,6               Debt Collection Practices Act, California Civil Code §§ 1788-1788.32

       7               ("Rosenthal Act").
       8      10. Plaintiff is a natural person who resides in the City of Hesperia, County of

       9                San Bernardino, State of California.
      10      11. Because Plaintiff resides in Hesperia County, as defined by 28 U.S.C. §
      11                1391c(I), venue is proper pursuant to 28 U.S.C. § 1391b(2).
                                                                                the events or omissions giving rise to the
H 12          12. At the time of                  the substantial part of



~ 'ê 13
o .£                    claim occurred, Plaintiff was physically located in the City of Hesperia,

~ ~ 14                  County of San Bernardino, State of California.
~ ~
~ ~ 15         13. Because a substantial part of the events or omissions giving rise to the claim
== 16                   occurred in San Bernardino County, venue is proper pursuant to 28 U.S.C. §
      17                 1391b(2).
      18       14. At all times relevant, Defendant conducted business within the State of

      19                California.
      20                                                                    PARTIES

      21       15. Plaintiff is a natural person who resides in the City of Hesperia, State of

      22                 California.
      23       16. Defendant is located in the City of
                                                                              Warren, in the State of   Michigan.

      24       17. Plaintiff is obligated or allegedly obligated to pay a debt, and is a "consumer"

       25                as that term is defined by 15 U.S.C. § 1692a(3).
       26      18. Defendatn is a person who uses an instrumentality of interstate commerce or
       27                the       mail   in a business the principal purpose of which is the collection of debts,
       28                 or who regularly collects or attempts to collect, directly or indirectly, debts


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         Case 5:13-cv-02026-JGB-DTB
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     1           owed or due or asserted to be owed or due another and is therefore a debt
     2           collector as that phrase is defined by 15 U.S.C. § 1692a(6).
     3      19. Plaintiff is a natural person from whom a debt collector sought to collect a
     4           consumer debt which was due and owing or alleged to be due and owing from
     5           Plaintiff, and is a "debtor" as that term is defined by California Civil Code §
     6           1788.2(h).
     7      20. Defendant, in the ordinary course of business, regularly, on behalf of himself,
     8           herself, or others, engages in debt collection as that term is defined by
     9           California Civil Code § 1788.2(b), and is therefore a debt collector as that
    10           term is defined by California Civil Code § 1788.2( c).
    11      21. This case involves money, property or their equivalent, due or owing or

H 12             alleged to be due or owing from a natural person by reason of a consumer
~ 'ê 13
o .£             credit transaction. As such, this action arises out of a consumer debt and
~ ~ 14           "consumer credit" as those terms are defined by CaL. Civ. Code § 1788.2(f).
~ ~
~ ~ 15                                      FACTUAL ALLEGATIONS

== 16       22. Sometime before March 23, 2012, Plaintiff is alleged to have incurred certain
     17           credit card-related financial obligations.
     18     23. These financial obligations were primarily for personal, family or household
     19           purposes and are therefore a "debt" as that term is defined by 15 U.S.C.

     20           §1692a(5).
     21     24. These alleged obligations were money, property, or their equivalent, which'is
     22           due or owing, or alleged to be due or owing, from a natural person to another
     23           person and are therefore a "debt" as that term is defined by California Civil
     24           Code § 1788.2( d), and a "consumer debt" as that term is defined by California
     25           Civil Code § 1788.2(f).
     26      25. Sömetime thereafter, but before March 23, 2012, Plaintiff allegedly fell
     27           behind in the payments allegedly owed on the alleged debt. Plaintiff currently
     28           takes no position as to the validity of this alleged debt.


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          Case 5:13-cv-02026-JGB-DTB Document 1 Filed 11/06/13 Page 5 of 11 Page ID #:9
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         1    26. Subsequently, but before March 23, 2012, the alleged debt was assigned,

         2         placed, or otherwise transferred to Defendant for collection.
         3    27. On or about March 23, 2012, Defendant filed a collections lawsuit against
         4         Plaintiff in the Superior Court of San Bernardino, Case Number

         5         CIVVS1201414, for the account number ending in 0949.
         6    28. On or about May 9, 2012, after retaining present counsel, counsel, acting on
         7         behalf of Plaintiff, filed Plaintiff's Answer with the court and mailed
         8         Plaintiff's Answer to Defendant.
         9    29. On or about May 9, 2012, Plaintiff's counsel also mailed to Defendant
        10         Plaintiff's Request for Admissions, Plaintiff's Request for Production of
        11         Documents and and Plaintiff's Demand for Bil of               Particulars.

        12    30. On or May 24, 2012, Defendant filed a Request for Dismissal Without                ,,/--

~ eo
~ 'Ë 13
o .£               Prejudice.
~ ~ 14        31. On or about September 1, 2013, and despite being placed on notice that
~ tJj
~ ~ 15             Plaintiff was represented by present counsel, Defendant contacted Plaintiff by
~ ~'
== 16              mailed correspondence, in regards to attempts to collect a debt for the account
        17         number ending in 0949.
        18    32. Without the prior consent of the consumer given directly to the Defendant or
        19         the express permission of a court of competent jurisdiction, Defendant,
        20         communicated with the consumer in connection with the collection of a debt
        21         when Defendant knew the consumer was represented by an attorney with
        22         respect to such debt and had knowledge of, or could have readily ascertained
        23          such attorney's name and address. Consequently, Defendant violated 15

       \ 24         U.S.C. § 1692c(a)(2).
        25    33. Because this violated certain portions of the federal Fair Debt Collection
        26          Practices Act as these portions are incorporated by reference in the Rosenthal
        27          Fair Debt Collection Practices Act, through California Civil Code § 1788.17,
        28          Defendants' conduct or omission violated CaL. Civ. Code § 1788.1 7.




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        Case 5:13-cv-02026-JGB-DTB Document 1 Filed 11/06/13 Page 6 of 11 Page ID #:10


        1                                                  CAUSES OF ACTION

        2                                                        COUNT      I
        3                         FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)

        4                                                15 U.S.C. §§ 1692 ET SEQ.

        5    34. Plaintiff repeats, re-alleges, and incorporates by reference, all other

        6         paragraphs.
        7    35. The foregoing acts and omissions constitute numerous and multiple violations
        8         of the FDCPA, including but not limited to each and every one of the above-
        9         cited provisions of               the FDCPA, 15 U.S.C. § 1692 et seq.
        10   36. As a result of each and every violation of the FDCPA, Plaintiff is entitled to
        11        any actual damages pursuant to 15 U.S.C. § 1692k(a)(I); statutory damages in

H       12        an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,
~ 'ê
o .£ 13           reasonable attorney's fees and costs                   pursuant to 15 U.S.C. § 1692k(a)(3) from
~ ;;
00 ~ 14           Defendant.
~ ~
~ is 15                                                          COUNT      II
~;
== rn
        16      ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT (ROSENTHAL ACT)

        17                                           CAL. CIV. CODE §§ 1788-1788.32

        18   37. Plaintiff repeats, re-alleges, and incorporates by reference, all other

        19        paragraphs.
        20   38. The foregoing acts and omissions constitute numerous and multiple violations
        21         of the Rosenthal Act, including but not limited to each and everyone of the
        22         above-cited provisions of                the Rosenthal Act, CaL. Civ. Code §§ 1788-1788.32

        23   39. As a result of each and every violation of the Rosenthal Act, Plaintiff is
        24         entitled to any actual damages pursuant to CaL. Civ. Code § 1788.30(a);

        25         statutory damages for a knowing or wilful violation in the amount up to
        26         $1,000.00 pursuant to CaL. Civ. Code § 1788.30(b); and reasonable attorney's
        27         fees and costs pursuant                to CaL. Civ. Code § 1788.30(c) from Defendant.

        28


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        1                                                           PRAYER FOR RELIEF

       2    WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and
       3    Plaintiff        be awarded damages from Defendant, as follows:
       4                . An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §

       5                          1692k(a)(2)(A);
       6                . An award of costs of litigation and reasonable attorney's fees, pursuant
       7                          to 15 U.S.C. § 1692k(a)(3);
        8               . An award of actual damages pursuant to California Civil Code §
       9                          1788.30(a);
       10               . An award of statutory damages of $1,000.00 pursuant to CaL. Civ. Code

       11                         § 1788.30(b);

       12               . An award of costs of                             litigation and reasonable attorney's fees, pursuant
~ eo
~ ,=                              to CaL. Civ. Code § 1788.30(c).
o .£   13
~ ;;
00 ~ 14                                                                                                   the United States of
            40. Pursuant to the seventh amendment to the Constitution of

~ ~
~ is 15                 America, Plaintiff is entitled to, and demands, a trial by jury.
~ ~
==
       16

       17   Respectfully submitted,
                                                                                        Hyde & Swigart
       18

       19
             Date: October 28,2013                                                 By:sl Crosby S. Connolly
       20                                                                             Crosby S. Connolly
       21                                                                             Attorneys for Plaintiff
       22
       23
       24
       25
       26
       27
       28


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                            UNITED STC) DISTRICT COURT, CENTRAL DISTRICT OF (¡ \ORNIA
           Case 5:13-cv-02026-JGB-DTB      Document
                                       / CIVIL         1 Filed
                                                   COVER        11/06/13 Page 8 of 11 Page ID #:12
                                                            SHEET
    I. (a) PLAINTIFFS (Check box if            you are representing yourself 0 )                      DEFENDANTS (Check box if                   you are representing yourself 0 )

    Andrew Medina                                                                                      Asset Acceptance, LLC




    (b) Attorneys (Firm Name, Address and Telephone Number. If                     you                (b) Attorneys (Firm Name, Address and Telephone Number, If                  you
    are representing yourself, provide same information.)                                             are representing yourself, provide same information.)

    Crosby S. Connolly, Esq., Joshua B. Swigart, Esq.; Hyde & Swigart
    2221 Camino Del Rio South, Suite 101; San Diego, CA 92108
    Telephone: (619) 233-7770; Facsimile: (619) 297-1022

    II. BASIS OF JURISDICTION (Place an X in one box only.)                                   II. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                                   (Place an X in one box for plaintiff and one for defendant)
                                                                                                                                                                                            DEF
    o 1. U.s. Government                   l8 3. Federal Question (U.S,                       Citizen ofThis State POTF 1 ÕF 1 Incorporated      or Principal Place ÔF 4 o 4
                                                                                                                                 of Business in this State
         Plaintiff                                 Government Not a Party)
                                                                                              Citizen of Another State 0 2 0 2 Incorporated and Principal Place
                                                                                                                                             of Business in Another State
                                                                                                                                                                                   o 5 0 5
                                                                                              Citizen or Subject of a
    o 2. U.s. Government                   04. Diversity (Indicate Citizenship                                               o 3 0 3 Foreign Nation                                o 6 0 6
         Defendant                             of Parties in Item III)                        Foreign Country

    IV. ORIGIN (Place an X in one box only.)                                                                                                                  Multi-
                                                                                                4 R . d 6.

    ~ Proceeding State Court Appellate Court
    rx 1. Original 0 2. Removed from 0 3. Remanded from                                           Reopened District (Specify) Litigation
                                                                                          O . einstate or 0 s. Tr~n~ferred fr~m Another 0 District



    V. REQUESTED IN COMPLAINT: JURY DEMAND: l8 Yes 0 No (Check "Yes" only if demanded in complaint.)
    CLASS ACTION under F.R.Cv.P. 23: 0 Yes l8 Nò 0 MONEY DEMANDED IN COMPLAINT: $ 2,000.00
    VI. CAUSE OF ACTION (Cite the U.s. Civil Statute under               which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
    15 U.s.c. § 1692 et seq.
    Unfair Debt Collection Practices

    VII. NATURE OF SUIT (Place an X in one box only),
         OTHER STATUTES                     CONTRACT             REÄí.PR()PERTYCONT:                  IMMIGRATION                PRISONER PETITIONS                    PROPERTY    RIGHTS
                                                                                                                                                                                                  I
I

    o 375 False Claims Act            o 110 Insurance            0    240 Torts to Land
                                                                                                 0   462 Naturalization
                                                                                                     Application
                                                                                                                                     Habeas Corpus:           o 820 Copyrights

    o 400 State
       Reapportionment                o 120Marine                0    245 Tort Product
                                                                      Liabilty
                                                                                                                               o 463 Alien Detainee           o 830 Patent


    o 410 Antitrust                   o 130 Miller Act           0    290 All Other Real
                                                                      Property
                                                                                                 o 465 Other Actions
                                                                                                    Immigration
                                                                                                         TORTS
                                                                                                                               o 510 Motions to Vacate
                                                                                                                                   Sentence
                                                                                                                               o 530 General
                                                                                                                                                              o 840 Trademark
                                                                                                                                                                    SOCIAL SECURITY               I
    o 430 Banks and Banking           0    140 Negotiable
                                           Instrument            '/.iT8RTS......
                                                                 ' PERSONAl'PROPElrrV
                                                                                                  PERSONAL PROPERTY            o 535 Death Penalty            0861 HIA(1395ff
    o 450 Commerce/ICC                     150 Recovery of                                       o 370 Other Fraud                         Other:
       Rates/Etc.                                                                                                                                             o 862 Black lung (923)

    o 460 Deportation
                                      0    Overpayment &
                                           Enforcement of
                                                                 o 310Airplane
                                                                                                 0    371 Truth in lending o 540 Mandamus/Other               o 863 DIWClDIWW (405 (g))
                                           Judgment              o 315 Airplane
                                                                     Product Liability
    0    470 Racketeer Influ-
         enced & Corrupt Org.         0    151 Medicare    Act
                                                                 o 320
                                                                                                 0 Property Damage
                                                                                                      380 Other Personal       o 550 Civil Rights             o 864 SSID Title XVi

                                                                       Assault, Libel &
                                                                     Slander                                                   o 555 Prison Condition         o 865 RSI (405 (g))
    o 480 Consumer Credit                  152 Recovery of
                                      o Defaulted Student o 330 Fed. Employers'
                                                              Liability
                                                                                                 0 385 Property Damage
                                                                                                   Product Liability               Conditions
                                                                                                                               o 560          of
                                                                                                                                     Civil Detainee                    FEDERAL TAX SUITS          I
    o 490 Cable/Sat1V                     Loan (Excl. Vet.)                                            BANKRUPTCY                  Confinement
                                                                 o 340Marine                                                     FORFEITURE/PENALTY           0    870 Taxes (U.s. Plaintiff or
                                                                                                                                                                   Defendant)
    0    850 Securities/Com-
         modities/Exchange
                                           153 Recovery of                                       0    422 Appeal 28
                                                                                                      USC 158                                                      871 IRS-Third Party 26 USC
                                      o Overpayment of
                                          Vet. Benefits
                                                                 o 345 Marine Product
                                                                     Liabilty
                                                                                                                                  . 625 Drug Related
                                                                                                                               o Seizure of Property 21       0    7609
    lE
         890 Other Statutory
         Actions                                                 0    350 Motor Vehicle          0    423 Withdrawal
                                                                                                      USC 157
                                                                                                                        28
                                                                                                                                   USC 881

    0    891 Agricultural Acts        0    160 Stockholders'
                                           Suits
                                                                 0    355 Motor Vehicle
                                                                      Product Liability
                                                                                                       CIVIL RIGHTS            o 6900ther


         Matters '
    o 893. Environmental              0    190 Other                                             0    440 Other Civil Rights              LABOR
                                           Contract              o 360  Other Personal
                                                                     Injury
                                                                                    Injury-
                                                                                                 0    441 Voting               o 710
                                                                                                                                  ActFair Labor Standards
    o 895
       ActFreedom of Info.                                       o 362Med                        o 442 Employment
                                      o 195 Contract
                                         Product Liability                 Malpratice
                                                                       Personal
                                                                                                                               o 720 Labor/Mgmt.
                                                                                                                                  Relations
    o 896 Arbitration                 0    196 Franchise
                                                                 o 365Product
                                                                                    Injury-
                                                                       PersonalLiability
                                                                                                 o 443 Housing/
                                                                                                    Accomodations
                                                                                                                               o 740 Railway labor Act
                                          REAL PROPERTY                                               445 American with
         899 Admin. Procedures                                        367 Health Carel
    o Act/Review of Appeal of
         Agency Decision
                                      o 210Land
                                         Condemnation
                                                                 0    Pharmaceutical
                                                                      Personal   Injury
                                                                                                 o Disabilities-
                                                                                                      Employment
                                                                                                                               0751  Familyand
                                                                                                                                  Leave Act    Medical
                                                                      Product Liability                                        o 790  Other Labor
                                      o 220 Foreclosure                                          o 446 American with
                                                                                                     Disabilties-Other            Litigation
                                                                      368 Asbestos
        State
    o 950     Statutes
          Constitutionality
                                 of
                                      o 230  Rent Lease &
                                                                 0    Personai Injury            o 448 Education               o 791Security
                                                                                                                                     EmployeeActRet.
                                                                                                                                                       Inc.




                                                                                                                                   ~
                                          Ejectment                   Product Liabiltv


    FOR OFFICE USE ONLY:


    CV-71 (09/13)
                                             Case Number: -I
                                                                                          cv-
                                                                                          CIVil COVER SHEET
                                                                                                                        -,                                    JGB
                                                                                                                                                                                  Page 1 OfroTBx)



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        Case 5:13-cv-02026-JGB-DTB
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                                       Document 1 Filed 11/06/13 Page 9 of 11 Page ID #:13
                     UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                                      CIVIL COVER SHEET


VII. VENUE: Your answers to the questions below wil determine the division of the Court to which this case wil most likely be initially assigned. This initial assignment
is subject to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of RemovaL.


Question A: Was this case removed from                                       STATE CASE WAS PENDING           IN THE COUNTY OF:                              .....         INITIALDIVISION IN CACD is:
state court?                                                                                              .                               .


               0    Yes    ~      No                   0       Los Angeles
                                                                                                                                                                                        Western

If "no, " go to Question B. If "yes," check the
box to the right that applies, enter the
                                                       0       Ventura, Santa Barbara, or San Luis Obispo                                                                               Western

corresponding division in response to
Question D, below, and skip to Section IX.
                                                       0       Orange                                                                                                                   Southern

                                                       0       Riverside or San Bernardino                                            .
                                                                                                                                                                                        Eastern


Question B: Is the United States, or one of                                                 ' .. . ....... .' -:
                                                                       If the United States, or one of its agencies or employees, is a party; is It:
its agencies or employees, a party to this
                                                                                              ,                                                                                                   INITIAL
action?
                                                                             A PLAINTIFF?                                             A DEFENDANT?                                           DIVISION IN

               0    Yes    ~      No
                                                                                               .
                                                           Then check the box belowfor the county in                   Then check the box below for thecounty in
                                                                                                                                                                                              CACDIS:

                                                                                  DEFENDANTS reside.
                                                               which the majority of                                    which the majority of PLAINTIFFS reside.                                             .

If "no, " go to Question C. If "yes," check the        0       Los Angeles                                         0    Los Angeles                                                           Western
box to the right that applies, enter the                       Ventura, Santa Barbara, or San Luis
corresponding division in response to                  0       Obispo                                              0    Ventura, Santa Barbara, or San Luis
                                                                                                                        Obispo
                                                                                                                                                                                              Western
Question D, below, and skip to Section IX.
                                                       D       Orange                                              0    Orange                                                                Southern

                                                       0       Riverside or San Bernardino                         D    Riverside or San Bernardino                                               Eastern

                                                       0       Other                                               D    Other                                                                 Western


                                                  A.                             B.                           C.                              D.                                   E.                        F.
     . Question C: Location of             Los Angeles            Ventura, Santa Barbara, or       Orange County                  Riverside or San                       Outside the Central                Other
plaintiffs, defendants,   and claims?        County               San Luis Obispo Counties                                      Bernardino Counties                      District of California

 Indicate the location in which a
 majority of plaintiffs reside:                0                                0                             0                               ¡g                                  0                         0
 Indicate the location in which a
 majority of defendants reside:                0                                0                             0                               D                                   0                         ¡g
 Indicate the location in which a
 maioritv of claims arose:
 .
                                               0                                0                             0                               ¡g                                  0                         0
                                                           .                                 ..'


C.l. Is either of the following true? If so, check the one that applies:                              C.2. Is either of the following true? If so, check the one that applies:

       o 2 or more answers in Column C                                                                        l8 2 or more answers in Column D


       o only 1 answer in Column C and no answers in Column D                                                 o only 1 answer in Column D and no answers in Column C


                     Your case wil initially be assigned to the                                                                   Your case wil initially be assigned to the
                                  SOUTHERN DIVISION.                                                                                                 EASTERN DIVISION.



                                                                                  ..
                Enter "Southern" in response to Question D, below.                                                           Enter "Eastern" in response to Question D, below.

                  If none applies, answer question C2 to the right.                                                                   If none applies, go to the box below.
                                                                                                                                                                                         l
                                                                                 Your case wil initially be assigned to the
                                                                                            WESTERN DIVISION,
                                                                             Enter "Western" in response to Question D below.




Questión D:lnitial Division?                                                                                                                       INITIAL   DIVISION IN CACD

Enter the initial division determined by Question A, B, or C above:               ..                                                                           Eastern




 CV-71 (09/13)                                                                              CIVIL COVER SHEET                                                                                       Page 2 of3
                                                           / '\
     Case 5:13-cv-02026-JGB-DTB
                             " J Document 1 Filed 11/06/13 Page 10 of 11 Page ID #:14
                                            UNITED SlATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                                     CIVIL COVER SHEET
IX(a). IDENTICAL CASES: Has this action been previously fied in this court and dismissed, remanded or closed?                                      ~ NO                DYES
           If yes, list case number(s):


IX(b). RELATED CASES: Have any cases been previously filed in this court that are related t~ the present case?                                     ~ NO                DYES
           If yes, list case number(s):


  Civil cases are deemed related if a previously filed case and the present case:

  (Check     all boxes that apply) 0 A. Arise from the same or closely related transactions, happenings, or events; or



                                      o B. Call for determination of
                                                                        the same or substantially related or similar questions of law and fact; or

                                                                                                                                     judges; or
                                      o C. For other reasons would entail substantial duplication of labor if heard by different


                                      o D. Involve the same patent, trademark or copyright. and one of the factors identified above in a, b or c also is present.

X. SIGNATURE OF              ATTORNEY C! /
(OR SELF-REPRESENTED LITIGANT):                                                                                                         DATE: 10/29/13

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursyant to Local Rule 3- 1 is not filed
                                                                                                                               instructions,
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed                   see separate instructions sheet).

Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code          Abbreviation                   Substantive Statement of Cause of Action
                                                      All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
           861                       HIA              include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                      (42 U.s.c. 1935FFb))

           862                       BL               All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.s.c.
                                                      923)

                                                                                                                               Title
                                                      All claims filed by insured workers for disability insurance benefits under        2 of the Social Security Act, as amended; plus
           863                       DIWC
                                                      all claims filed for child's insurance benefits based on disability. (42 U.s.c. 405 (g)) .

                                                      All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
           863                       DIWW
                                                      amended. (42 U.s.c. 405 (g))

                                                      All claims for supplemental security income payments based upon disability filed under Title 1 6 of the Social Security Act, as
           864                       SSID
                                                      amended.

           865                       RSI              All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                      (42 U.s.c. 405 (g))




CV-71 (09/13)                                                                      CIVIL COVER SHEET                                                                   Page 3 of3
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                                                     UNITED STATES DISTRICT COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA
j
                                         NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES


               This case has been assigned to District Judge                            Jesus G. Bernal             and the assigned

      Magistrate Judge is David T. Bristow


                             The case number on all documents fied with the Court should read as follows:



                                                          EDCV13-02026 JGB (DTBx)


               Pursuant to General Order 05-07 of the United States District Court for the Central District of
      California, the Magistrate Judge has been designated to hear discovery related motions.


               All discovery related motions should be noticed on the calendar of the Magistrate Judge.




                                                                                    Clerk, U. S. District Court


                    November 6,2013                                                 By 1. Murray
                              Date                                                       Deputy Clerk




                                                               NOTICE TO COUNSEL

      A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
     filed, a copy of this notice must be served on all plaintifs).

      Subsequent documents must be fied at the following location:


          D Western Division                            D Southern Division                     I: Eastern Division
               312 N. Spring Street, G-8                     411 West Fourth St., Ste 1053           3470 Twelfth Street, Room 134
               Los Angeles, CA 90012                         Santa Ana, CA 92701                     Riverside, CA 92501


      Failure to fie at the proper location wil result in your documents being returned to you.

    CV-18 (08/1)                                     NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES
